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UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 01/26/2022


 MELENDEZ, et al.,

                             Plaintiffs,
                                                                No. 20-CV-5301 (RA)
                        v.
                                                                       ORDER
 THE CITY OF NEW YORK, et al.,

                             Defendants.


RONNIE ABRAMS, United States District Judge:
         On October 28, 2021, the Second Circuit issued an opinion affirming in part, reversing in
part, and vacating in part this Court’s judgment of November 30, 2020, and remanded for further
proceedings consistent with its opinion. As relevant here, the Circuit held that Plaintiffs had
alleged a plausible Contracts Clause challenge to New York State’s Guaranty Law and that
Plaintiffs’ motion for preliminary injunctive and declaratory relief should thus not have been
denied without review. Earlier today, the mandate issued.
         Accordingly, the Court will consider Plaintiffs’ motion for preliminary injunctive and
declaratory relief on the merits. Although this motion is fully briefed, over a year has passed since
that briefing was completed. By no later than January 31, 2022, the parties shall submit a joint
letter stating whether they wish to rest on their existing briefing or prefer to file supplemental or
replacement briefing. If the parties elect to supplement or replace their briefs, they shall also
propose a briefing schedule. The Court will schedule a hearing on the preliminary injunction
motion after briefing is complete.


Dated:      January 26, 2022
            New York, New York

                                                  Ronnie Abrams
                                                  United States District Judge
